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AIM Mitel eit CelamcoMCe(-Tal dia mice] l mer: t-t-m

Debtor 1 Poppy May Miller

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name : Last Name

United States Bankruptcy Court forthe: SOUTHERN DISTRICT OF INDIANA

Case number 21-00786-JMC
| (if known) Mi Check if this is an
amended filing

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

ERE List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
No. Go to Part 2.
0 yes.

[GE List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
0 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

a Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do nat list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of

 

 

Part 2.
Total claim
Multiple
| 44 ATI Physical Therapy Last 4 digits of accountnumber Accounts Unknown
- Nonpriority Creditors Name 7
790 Remington Blvd. When was the debt incurred? Multiple Dates
Bolingbrook, IL 60440
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only O Contingent
CO Debtor 2 only CZ unliquidated
1 Debtor 1 and Debtor 2 only Oo Disputed
CO) Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
U1 Check if this claim is for a community O1 Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
!s the claim subject to offset? report as priority claims
BNno O Debts to pension or profit-sharing plans, and other similar debts
0 yes B other. Specify Medical Debt
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 13

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Debtor 1 Poppy May Miller Case number (ifknown) — 21-00786-JMC _
Barclays Last 4 digits of account number $1,123.00
Nonpriority Creditor's Name — +
PO Box 8803 When was the debt incurred? 12/19
Wilmington,DE 19899

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

B pebtor 1 only O contingent

O Debtor 2 only Oo Unliquidated

C1 Debtor 1 and Debtor 2 only Oo Disputed

C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim;

D1 Check if this claim is for a community C1 student loans

debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims

Bivo O Debis to pension or profit-sharing plans, and other similar debts

O yes H other. Specity Credit Card/Credit Use

Capital One Auto Finance Last 4 digits of accountnumber 1001 $0.00
Nonpriority Creditor's Name

PO Box 259407 When was the debt incurred? 9/19

Plano, TX 75025

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

8 Debtor 1 only O Contingent

D1 debtor 2 only 0 Unliquidated

OD) Debtor 1 and Debtor 2 only oO Disputed

CZ At least one of the debtors and another Type of NONPRIORITY unsecured claim:

C1 Check if this claim is fora community O Student loans

debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims

Hino O Debts to pension or profit-sharing plans, and other similar debts

O yes other. Specify Notice Only

ChexSystems Last 4 digits of account number $0.00
Nonpriority Creditor's Name

7805 Hudson Road Ste. 100 When was the debt incurred?

‘Saint Paul, MN 55125

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

Bi bebtor 1 only Oo Contingent

CX Debtor 2 only O Unliquidated

1 Debtor 1 and Debtor 2 only O Disputed

CZ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:

C Check if this claim is for a community C1 Student loans

debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims

Bo O1 Debts to pension or profit-sharing plans, and other similar debts

O Yes I other. Specify Notice Only oo

Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 13

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Debtor 1_ Poppy May Miller _

'45 | Comenity - Victoria's Secret (PINK)

 

 

 

Case number (if known) 21-00786-JMC

 

 

 

 

Victe Last 4 digits of accountnumber 1924 $597.00
Nonpriority Creditors Name ee a OO
Attn: Bankruptcy Dept. When was the debt incurred? 06/2005 _
PO Box 182125
Columbus, OH 43218-2125
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
A Debtor 1 only oO Contingent
0) Debtor 2 only Oo Unliquidated
OD Debtor 1 and Debtor 2 only Oo Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
@ No 0 debts to pension or profit-sharing plans, and other similar debts
D1 ves B other, Specify Credit Card / Credit Use
| 4.6 _Comenity Bank - Buckle Last 4 digits of accountnumber 41424 $2,160.00
Nonpriority Creditor's Name
PO BOX 182789 When was the debt incurred? 07/2013
Columbus, OH 43218
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only Oo Contingent
CD Debtor 2 only O Unliquidated
OO Debtor 1 and Debtor 2 only O Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0) Check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno O Debts to pension or profit-sharing plans, and other similar debts
0 ves HI other. Specity Credit Card / Credit Use
| 7] ' fois
[4.7 CoreLogic Corporate Headquarters Last 4 digits of account number $0.00
Nonpriority Creditor's Name
40 Pacifica Avenue When was the debt incurred?
Suite 900
Irvine,CA92618 —
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only oO Contingent
oO Debtor 2 only O Unliquidated
CO) Debtor 1 and Debtor 2 only O Disputed
CO) At least one of the debtors and another Type of NONPRIORITY unsecured claim:
01 Check if this claim is fora community O Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
BNo Q) Debts to pension or profit-sharing plans, and other similar debts
O Yes B Other, Specify Notice Only
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 13

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Debtor! Poppy May Miller

148 Equifax
Nonpriarity Creditor's Name
PO Box 740256

Atlanta, GA 30374
Number Street City State Zip Code

Who incurred the debt? Check one,

ti Debtor 1 only

0 Debtor 2 only

0) Debtor 1 and Debtor 2 only

C0 Atleast one of the debtors and another

C1 Check if this claim is for a community
debt

Is the claim subject to offset?
Bi no
O ves

49 "Experian _

Nonpriority Creditor's Name
701 Experian Parkway
Allen, TX 75013

Number Street City State Zip Code

Who incurred the debt? Check one,

a Debtor 1 only

OD) Debtor 2 only

CD Debtor 1 and Debtor 2 only

OD Atleast one of the debtors and another

0 Check if this claim is fora community

 

Case number (if known) 21-00786-JMC
Last 4 digits of account number $0.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
oO Unliquidated

0 Disputed
Type of NONPRIORITY unsecured claim:

0 student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

other. Specity Notice Purpose Only

 

Last 4 digits of account number $0.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

oO Contingent
O Unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

DO) Student loans

 

debt O Obligations arising out of a separation agreement or divorce that you did not
\s the claim subject to offset? report as priority claims
Bino 0) debts to pension or profit-sharing plans, and other similar debts
O ves H other, Specity Notice Purpose Only
4.1 5 ‘
0 First National Bank of Omaha Last 4 digits of account number 0113 $27,492.00
— -Nonpriority Creditor's Name
PO Box 2557 When was the debt incurred? 04/2007
Omaha, NE 68103
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only O Contingent
O Debtor 2 only O Unliquidated
OO Debtor 1 and Debtor 2 only O Disputed
0 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is fora community U1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
B no 1 Debts to pension or profit-sharing plans, and other similar debts
Credit Card / Credit Use - Collection
i Account w/Blitt & Gaines - Crown Asset
CX yes Other. Specify Management - DCM Services
Official Form 106 E/F Schedule E/F:; Creditors Who Have Unsecured Claims Page 4 of 13

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Debtor 1 Poppy May Miller

 

 

 

 

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44 . Multiple
1 Franciscan Alliance Last 4 digits of accountnumber Accounts Unknown
Nonpriority Creditor's Name | |
1515 Dragoon Trail When was the debt incurred? Multiple Dates
Mishawaka, IN 46544
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only O Contingent
O Debtor 2 only O Unliquidated
OO Debtor 1 and Debtor 2 only O Disputed
CZ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
fl No 0 Debts to pension or profit-sharing plans, and other similar debts
O yes I other, Specify Medical Debt _
144 :
\2 GLA Collection Company, Inc. Last 4 digits of accountnumber 3019 Unknown
Nonpriority Creditor's Name
2630 Gleeson Lane When was the debt incurred? 08/2018
P.O. Box 991199
Louisville, KY 40299
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B debtor 1 only 0D Contingent
O Debtor 2 only oO Unliquidated
O Debtor 1 and Debtor 2 only Oo Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community O Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No O Debts to pension or profit-sharing plans, and other similar debts
Collection Account - Indpls Gastro & Hem -
0 ves @ other. Specify NA
44
3 | Hardamon & Associates Last 4 digits of account number 0028 Unknown
-_-_ Nonpriority Creditors Name - :
Attorneys At Law When was the debt incurred? 06/2018
825 S Meridian St
Indianapolis, IN 46225
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B® pebtor 1 only O Contingent
C1 debtor 2 only 0 untiquidated
C1 Debtor 1 and Debtor 2 only O Disputed
CZ At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO) Check if this claim is for a community CO) student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
BNno 0) debts to pension or profit-sharing plans, and other similar debts
O ves other, Specify Collection Account - Valle Vista Health
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 13

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Debtor 1 Poppy May Miller

IMC Credit Services
Nonpriority Creditor's Name
8085 Knue Road
Indianapolis, IN 46250_

Number Street City State Zip Code
Who incurred the debt? Check one.

a Debtor 1 only

C1 Debtor 2 only

C1 Debtor 1 and Debtor 2 only

CZ atleast one of the debtors and another

OC Check if this claim is fora community
debt
Is the claim subject to offset?

Bo

0 ves

IU Health

 

Nonpriority Creditor's Name
250 N. Shadeland

Indianapolis, IN 46219
Number Street City State Zip Code

Who incurred the debt? Check one.

ia Debtor 1 only

O Debtor 2 only

C1 Debtor 1 and Debtor 2 only

C1 atleast one of the debtors and another

(1 Check if this claim is for a community
debt
!s the claim subject to offset?

Bno
0 ves

JPMCB Card Services

Nonpriority Creditors Name

PO Box 15369

Wilmington, DE 19850.

Number Street City State Zip Code

Who incurred the debt? Check one.

Bl pebtor 1 only

0 Debtor 2 only

CZ Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

01 Check if this claim is for a community
debt

Is the claim subject to offset?

a No
0 ves

Case number (if known)

Multiple
Last 4 digits of account number Accounts

When was the debt incurred?

Multiple Dates

As of the date you file, the claim is: Check all that apply

oO Contingent
0 unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

D1 Student loans

O Obligations arising out of a separation agreement or divorce that you did not

report as priority claims

0D Debts to pension or profit-sharing plans, and other similar debts

4 _ Collection Account - Southeast Anesthesia
Other. Specify Assoc., IU Radiology, Indiana Clinic/U

Multiple
Last 4 digits of accountnumber Accounts

When was the debt incurred? Multiple Dates

As of the date you file, the claim is: Check all that apply

O Contingent
01 unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

OQ Student loans

O Obligations arising out of a separation agreement or divorce that you did not

report as priority claims

C1 debts to pension or profit-sharing plans, and other similar debts

i other. Specify Medical Debt

Last 4 digits of account number 4540
When was the debt incurred? 9/05

As of the date you file, the claim is: Check all that apply

O Contingent
0 unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

CO) Student loans

Oo Obligations arising out of a separation agreement or divorce that you did not

report as priority claims

OD debts to pension or profit-sharing plans, and other similar debts

M other. Specify Credit Card / Credit Use

 

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Schedule E/F: Creditors Who Have Unsecured Claims

21-00786-JMC

Unknown

Unknown

$10,728.00

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Debtor 1 Poppy May Miller

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Case number (if known) 21-00786-JMC

 

 

 

JPMCB Card Services Last 4 digits of accountnumber 4673 Unknown
Nonpriority Creditar's Name :
PO Box 15369 When was the debt incurred? 2/16

Wilmington, DE 19850 _

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one,

a Debter 1 only O Contingent

D1 Debtor 2 only O Unliquidated

DO Debtor 1 and Debtor 2 only O Disputed

CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:

C) Check if this claim is fora community O Student loans

debt oO Obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

a No 0 Debts to pension or profit-sharing plans, and other similar debts

O ves I other. Specity Credit Card/Credit Use

Kohl's/Capital One Last 4 digits of accountnumber 9053 $3,650.00
Nonpriority Creditors Name
P.O. Box 3115 When was the debt incurred? 05/1998

Milwaukee, WI 53201-3115

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

a Debtor 1 only oO Contingent

oO Debtor 2 only oO Unliquidated

OQ) Debtor 1 and Debtor 2 only O Disputed

C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:

C1 Check if this claim is fora community C1 student loans

debt Oo Obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

a No O Debts to pension or profit-sharing plans, and other similar debts

OC Yes @ other, Specity Credit Card / Credit Use

Lincare Last 4 digits of account number 8870 Unknown
Nonpriority Creditor's Name — :

PO Box 690397 When was the debt incurred? 2018
Orlando, FL 32869

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

a Debtor 1 only O Contingent

OO debtor 2 only Oo Unliquidated

CO Debtor 1 and Debtor 2 only Oo Disputed

C1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:

C1) Check if this claim is for a community C1 student loans

debt O Obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

a No 01 Debts to pension or profit-sharing plans, and other similar debts

O ves @ other, Specify Medical Debt

Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 13

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Debtor1 Poppy May Miller —

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Case number (ifknown) —21-00786-JMC

 

 

4.2 | . Multiple
0 Med 1 Solutions Last 4 digits of accountnumber Accounts $2,002.00
~__ Nonpriority Creditor's Name a - —
517 US Hwy 31 N. When was the debt incurred? Multiple Dates
Greenwood, IN 46142_
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B pebtor 1 only Oo Contingent
OO Debtor 2 only Oo Unliquidated
CJ Debtor 1 and Debtor 2 only EJ Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community D1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bino 1 Debts to pension or profit-sharing plans, and other similar debts
Collection Accounts - South Campus
Surgery Center, Community Health
O ves i Other. Specify Network
4.2 Multiple
1 Medical Associates, LLP Last 4 digits of accountnumber Accounts Unknown
Nonpriority Creditor's Name —_ ——
PO Box 6276 Dept 20 When was the debt incurred? Multiple Dates
Indianapolis, IN 46206
Number Street City State Zip Cade As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
B pebtor 1 only O Contingent
OO Debtor 2 only O Unliquidated
O Debtor 1 and Debtor 2 only O Disputed
C1 atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community O1 Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
fa No 0 Debts to pension or profit-sharing plans, and other similar debts
0 Yes @ other. Specify Medical Debt
4.2 aia ‘
2 Meridian Financial Services Last 4 digits of account number Unknown
“Nonpriority Creditor's Name —
21 Overland Industrial Blvd., Bldg. 1. When was the debt incurred?
P.O. Box 1410
Asheville, NC 28802-1410
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only O Contingent
O Debtor 2 only O Unliquidated
OO Debtor 1 and Debtor 2 only oO Disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C) Check if this claim is fora community C1 student toans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno O debts to pension or profit-sharing plans, and other similar debts
D Yes @ other. Specify Collection Account
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Debtor 1 Poppy May Miller Case number (if known) 21-00786-JMC
Multiple

MiraMed Revenue Group Last 4 digits of accountnumber Accounts Unknown
Nonpriority Creditor's Name oo
Dept. 77304 When was the debt incurred? Multiple Dates

PO Box 77000
Detroit, M1 48277-0304

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

Bi debtor 1 only C1 Contingent

0 Debtor 2 only 0 Unliquidated

CO Debtor 1 and Debtor 2 only oO Disputed

D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:

O Cheek if this claim is for a community C1 Student loans

debt O Obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

B no 0 debts to pension or profit-sharing plans, and other similar debts

0 Yes B other. Specify Collection Accounts - Franciscan Alliance _

. Multiple

Northwest Radiology Network Last 4 digits of account number Accounts Unknown
Nonpriority Creditor's Name

13587 Collection Drive When was the debt incurred? Multiple Dates _

Chicago, IL 60693

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who Incurred the debt? Check one.

BI pebtor 1 only Oo Contingent

D1 Debtor 2 only O Unliquidated

D1 Debtor 1 and Debtor 2 only O Disputed

DC) Atieast one of the debtors and another Type of NONPRIORITY unsecured claim:

CO Check if this claim is for a community O1 Student loans

debt O Obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

Bio O Debts to pension or profit-sharing plans, and other similar debts

O ves B other, Specity Medical Debt

Ortho Indy Last 4 digits of accountnumber 6106 $97.00
Nonpriority Creditors Name :

PO Box 6284 When was the debt incurred? 2018

Indianapolis, IN 46206

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

a Debtor 1 only O Contingent

C Debtor 2 only O Unliquidated

0) Debtor 1 and Debtor 2 only O Disputed

CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:

0 Check if this claim is for a community O1 Student loans

debt oO Obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

(8 No ry Debts to pension or profit-sharing plans, and other similar debts

0 ves @ other. Specify Medical Debt

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Debtor 1 Poppy May Miller

¢ | Radius Global Solutions LLC
" Nonpriority Creditors Name
formerly Northalnd Grop
PO Box 390846
Minneapolis, MN 55439
Number Street City State Zip Code
Who incurred the debt? Check one.

a Debtor 1 only

O Debtor 2 only

O] Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

O1 Check if this claim is for a community
debt
Is the claim subject to offset?

Bo
0 yes

Jaz | Synchrony Bank Bankruptcy Dept. -
[7 Sun Gl

Nonpriority Creditor's Name

P.O. Box 965060

Orlando, FL 32896-5060

Number Street City State Zip Code
Who incurred the debt? Check one.

 

a Debtor 1 only

O Debtor 2 only

O Debtor 1 and Debtor 2 only

2 Atleast one of the debtors and another

CO Check if this claim is fora community

Case number (if known) 21-00786-JMC

Last 4 digits of account number 4659 Unknown

When was the debt incurred? 07/2018

As of the date you file, the claim is: Check all that apply

Oo Contingent
O unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

O1 student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

B other. Specify Collection Account - Kohls

Last 4 digits of account number 1356 Unknown

 

When was the debt incurred? 07/2018 -

As of the date you file, the claim is: Check all that apply

O Contingent
O Unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

C1 student loans

 

 

 

debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No O Debts to pension or profit-sharing plans, and other similar debts
1 Yes I other. Specity Credit Card / Credit Use
l42 |
8 TransUnion Last 4 digits of account number $0.00
'__ Nonpriority Creditor's Name —_—— ——
P.O. Box 2000 When was the debt incurred?
Chester, PA 19016
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B pebtor 1 only Oo Contingent
O Debtor 2 only O Unliquidated
O1 Debtor 1 and Debtor 2 only O Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
01 Check if this claim is for a community O1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
\s the claim subject to offset? report as priority claims
Ee No O Debts to pension or profit-sharing plans, and other similar debts
O ves H other. Specify Notice Purpose Only
Official Form 106 E/F Schedule E/F; Creditors Who Have Unsecured Claims Page 10 of 13

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Best Case Bankruptcy
Case 21-00786-JMC-7

Debtor 1 Poppy May Miller

42
9 Valle Vista Health

Nonpriority Creditor's Name
Attn: Business Office
898 E. Main Street
_Greenwood, IN 46143

Number Street City State Zip Code
Who incurred the debt? Check one,

@ pebtor 1 only
O Debtor 2 only
C1 Debtor 1 and Debtor 2 only

CZ Atleast one of the debtors and another

OO Check if this claim is for a community

debt
Is the claim subject to offset?

Bno
DO Yes

(EKERM List Others to Be Notified About a Debt That You Already Listed

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Case number (if known) 21-00786-JMC

 

Multiple
Last 4 digits of accountnumber Accounts $0.00

When was the debt incurred? Multiple Dates

As of the date you file, the claim is: Check all that apply

O Contingent
0 Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:
DO Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify Notice Only

 

 

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address

Blitt and Gaines, P.C.

775 Corporate Woods Parkway
Vernon Hills, IL 60061

Name and Address
Comenity Bank
Bankruptcy Department
PO Box 182125
Columbus, OH 43218

Name and Address

Community Health Network
PO Box 19202

Indianapolis, IN 46219

Name and Address

Community Health Network
1500 North Ritter
Indianapolis, IN 46219

Name and Address

Crown Asset Management

3100 Breckenridge Blvd Ste 725
Duluth, GA 30096

Name and Address

DCM Services LLC
7601 Penn Ave. S.
Suite A600
Minneapolis, MN 55423

Name and Address

GLA Collection Company
2630 Gleeson Lane
Louisville, KY 40299

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims
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On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.10 of (Check ane): 0) Part 1; Creditors with Priority Unsecured Claims
a Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor’?
Line 4.6 of (Check one}: C1 Part 1: Creditors with Priority Unsecured Claims

a Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.20 of (Check one}: C] Part 1: Creditors with Priority Unsecured Claims

a Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.20 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

wa Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.10 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

B pan 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.10 of (Check one}: C1 Part 1: Creditors with Priority Unsecured Claims

a Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.12 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

a Part 2: Creditors with Nonpriority Unsecured Claims

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Debtor 1 Poppy May Miller Case number (if known) 21-00786-JMC _
Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?

GLA Collections Line 4.12 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

PO Box 991199

BW pant 2: Creditors with Nonpriari i
ne i priority Unsecured Claims
Louisville, KY 40269

Last 4 digits of account number

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Hardamon & Associates Line 4.29 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
Attorneys At Law
825 S Meridian St
Indianapolis, IN 46225

a Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
IMC Credit Services Line 4.14 of (Check one): C1 Part 4: Creditors with Priority Unsecured Claims
6955 Hillsdale Ct.

a Part 2: Creditors with Nonpriori i
i priority Unsecured Claims
Indianapolis, IN 46250

Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Indiana Clinic - 1U Health Line 4.14 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
5799 Reliable Parkway

a Part 2: Creditors with Nonpriorit i
. : y Unsecured Claims
Chicago, IL 60686-0057

Last 4 digits of account number

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Indiana Clinic - 1U Health Line 4.14 of (Check ane}: CO] Part 1: Creditors with Priority Unsecured Claims
250 N Shadeland Ave

a Part 2: Creditors with Nonpriority U i
2 : i y Unsecured Claims
Indianapolis, IN 46219

Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Indianapolis Gastroenterology Line 4.12 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
417 Bridge Street

a Part 2: Creditors with Nonpriorit i
s ; y Unsecured Claims
Danville, VA 24541-1403

Last 4 digits of account number

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
IU Health Line 4.14 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
250 N. Shadeland

a Part 2: Creditors with Nonpriority Unsecured Claims
Indianapolis, IN 46219

Last 4 digits of account number

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
IU Radiology Line 4.14 of (Check one), C1 Part 1: Creditors with Priority Unsecured Claims
550 N. University Blvd. #0279

B pant 2: Creditors with Nonpriority Unsecured Claims
Indianapolis, IN 46202

Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
MiraMed Revenue Group Line 4.23 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
360 E. 22nd Street

a Part 2: Creditors wit Nonpriarity Unsecured Claims

Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?

MiraMed Revenue Group Line 4.23 of (Check one): CF Part 1: Creditors with Priority Unsecured Claims
PO Box 536

BF part 2: Creditors with Nonpriority Unsecured Claims
Linden, MI 48451-0536

Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?

Morgan Superior Court Line 4.10 of (Check one}: O Part 1: Creditors with Priority Unsecured Claims
10 E. Washington Street
§5D03-2101-CC-000113
Martinsville, IN 46151

a Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 12 of 13
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Debtor 1 Poppy May Miller — Case number (if known) 21-00786-JMC
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Northland Group Inc - Attn. BK Dept Line 4.26 of (Check one}: CI Part 1: Creditors with Priority Unsecured Claims

lintB cen Eee BF part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Northwest Radiology Network Line 4.24 of (Check one); C1 Part 1: Creditors with Priority Unsecured Claims
5901 Technology Center Drive

a Part 2: Creditors with Nonpriority Unsecured Claims
Indianapolis, IN 46278 Piaise

Last 4 digits of account number

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
South Campus Surgery Center Line 4.20 of (Check one); C1 Part 1: Creditors with Priority Unsecured Claims
1550 East County Line Rd. South

B part 2: Creditors with Nonpriority Unsecured Claims
Indianapolis, IN 46227-1000 eee ’

Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
South Campus Surgery Center Line 4.20 of (Check one): O1 Part 1: Creditors with Priority Unsecured Claims
7184 Solutions Center

a Part 2: Creditors with Nonpriority Unsecured Claims
Chicago, IL 60677-1000 y

Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Southeast Anesthesiologist Line 4.14 of (Check one); CO) Part 1: Creditors with Priority Unsecured Claims
PO Box 6069

a Part 2: Creditors with Nonpriori \
: priority Unsecured Claims
Dept. 107

Indianapolis, IN 46206-6069

Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?

Valle Vista Health Line 4.13 of (Check one): CZ Part 1: Creditors with Priority Unsecured Claims
Attn: Business Office
898 E. Main Street
Greenwood, IN 46143

a Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

GEGZSe Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

Total Claim
6a. Domestic support obligations 6a, & 0.00
Total a oe
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. 5 0.00
6c. Claims for death or personal injury while you were intoxicated Gc, $ | 0.00
6d, Other. Add all other priority unsecured claims, Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. Ge. $ 0.00
Total Claim
6f. Student loans 6f. $ 0.00
Total -
claims
from Part 2 69. Obligations arising out of a separation agreement or divorce that
you did not report as priority claims 6g. $ _ 0.00
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. g 0.00
6). Other. Add all other nonpriority unsecured claims. Write that t 6i.
fee priority u red claims, Write that amoun i 5 47,849.00
6). Total Nonpriority. Add lines 6f through 6i, 6). 5 47,849.00
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 13 of 13

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IMME Cte LtColsmcom(eCTiltamn cell) mer: Ct: hs

| Debtor 4 Poppy May Miller

| First Name : Middle Name Last Name
|

| Debtor 2 a

| (Spouse if, filing) First Name Middie Name Last Name

| United States Bankruptcy Court for the; © SOUTHERN DISTRICT OF INDIANA

|Case number 21-00786-JMC
| (if known) OO Check if this is an
| - | amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

ve aon melon

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

m No
Ol Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,

Declaration, and Signature (Official Form 119)

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

X /s/ Poppy May Miller — xX
Poppy May Miller Signature of Debtor 2
Signature of Debtor 1
Date July 22, 2021 ee Date
Official Form 106Dec Declaration About an Individual Debtor's Schedules

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United States Bankruptcy Court
Southern District of Indiana

Inre  _ Poppy May Miller Case No, 21-00786-JMC

Debtor(s) Chapter 7

 

CERTIFICATE OF SERVICE

[ hereby certify that on July 22, 2021, a copy of the Notice of Added Creditors and documents listed was served
electronically or by regular United States mail to all interested parties, the Trustee and all creditors listed below.

ATI Physical Therapy, 790 Remington Bivd., Bolingbrook, IL 60440
Northwest Radiology Network, 13587 Collection Drive, Chicago, IL 60693
Northwest Radiology Network, 5901 Technology Center Drive, Indianapolis, IN 46278

/s/ Jennifer F. Asbury

Jennifer F. Asbury

John Steinkamp and Associates

5214 S. East Street

Suite D1

Indianapolis, IN 46227
317-780-8300Fax:317-217-1320
ecf@johnsteinkampandassociates.com

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UNITED STATES BANKRPTCY COURT
SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION
IN RE: )
POPPY MAY MILLER, CASE NO. 21-00786-JMC-7
Debtor,

NOTICE TO ADDED CREDITORS

PLEASE TAKE NOTICE THAT you have been added as a creditor in this bankruptcy case.
The following documents are provided with this notice:

o Notice of meeting of creditors with applicable deadlines is being sent with Debtor(s) full
social security number.
o Amended Schedule F

/s/Jennifer F, Asbury
Jennifer F, Asbury
John Steinkamp and Associates
5214S. East Street, Ste. D-1
Indianapolis, IN 46227
(317) 780-8300
ecf@johnsteinkampandassociates.com
